Case 17-11452-JDW       Doc 87   Filed 05/06/19 Entered 05/06/19 15:41:27        Desc Main
                                 Document     Page 1 of 2


                IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                CHAPTER 13 CASE NO.:

LEVERTIA KIRKSEY                                                 17-11452-JDW

            RESPONSE TO MOTION TO SUSPEND CHAPTER 13 PAYMENTS

       COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,

and files this response to the Debtor’s Motion to Suspend Chapter 13 Payments (Dkt.

#82) (the “Motion”) and in support states as follows:

       1.      The Debtor initiated this proceeding with the filing of a voluntary petition

for relief on April 20, 2017. The Chapter 13 plan was confirmed by order (Dkt. #61) on

September 19, 2017, for a term of 36 months. There are fourteen (14) months remaining

in the plan term as calculated from the date of first payment.

       2.      The Motion provides no description or explanation of the financial

difficulty the Debtor is experiencing.

       3.      The Debtor is currently delinquent in payments to the Trustee in the

amount of $1,135.33, which is more than two months of payments. If the suspension is

granted the Debtor will be more than $2,700.00 delinquent in payments with only

eleven (11) months remaining. To cure the delinquency over the remaining plan term,

the plan payment would increase from $122.50 per week (or $530.83 per month) to

approximately $190.00 per week (or $824.00 per month).

       4.      If the suspension is granted, the plan payment will no longer be feasible.

       5.      The Trustee requests that the Motion be denied.



                                             1
Case 17-11452-JDW      Doc 87    Filed 05/06/19 Entered 05/06/19 15:41:27         Desc Main
                                 Document     Page 2 of 2


       WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,

prays that upon notice and hearing that this Court enter its order denying the Debtor’s

Motion and for such other relief to which the Trustee and this bankruptcy estate may be

entitled.

       Dated: May 6, 2019

                                          Respectfully submitted,
                                          LOCKE D. BARKLEY, TRUSTEE

                                          BY: /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER, ESQ.
                                          Attorney for Trustee
                                          6360 I-55 North, Suite 140
                                          Jackson, Mississippi 39211
                                          (601) 355-6661
                                          ssmith@barkley13.com
                                          MSB No. 10645




                              CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: May 6, 2019

                                          /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER




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